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                                   STATEMENT OF FACTS

        Your affiant, Susana Haberman, is a Special Agent with the Federal Bureau of
Investigation (FBI). I have been in this position since February 2004. I am currently assigned to
the Central Texas Joint Terrorism Task Force in the FBI San Antonio Field Office. I have been
employed as a law enforcement officer for approximately 19 years. In my duties as a Special
Agent, I have participated in the investigation of various violations of federal law including riots
and acts of violence in furtherance of a riot. Currently, I am tasked with investigating criminal
activity in and around the Capitol grounds on January 6, 2021. I have authored arrest and search
warrant affidavits and participated in the execution of such warrants. As a Special Agent, I am
authorized by law or by a Government agency to engage in or supervise the prevention, detection,
investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice



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President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        Based on investigative activity conducted to include the review of records, photographic
and video evidence obtained by law enforcement, and conversations with other law enforcement
officers about the same, JEFFREY DAVID REED (“REED”) was one of the individuals who
interfered with and passed barricades on U.S. Capitol grounds and entered the U.S. Capitol
building on January 6, 2021.

       Following the events on January 6, 2021, the FBI received online tips via the FBI National
Threat Operations Center (NTOC) from individuals who reported they had observed media
coverage showing REED in and/or around the U.S. Capitol building grounds on January 6, 2021.
On January 21, 2021, a tipster who was familiar with REED sent an email with a link to a YouTube
video identified as URL: https://youtu.be/cRCEMN-lq_o. The tipster stated the video showed
REED on the grounds of the U.S. Capitol on January 6, 2021, moving a barricade to the side, and
walking towards the U.S. Capitol building in front of the crowd. The tipster also emailed still shots
obtained from the YouTube video, identifying the individual as REED. The tipster further
described REED as wearing a “black hoodie with Trump on it.”

        Agents reviewed the information provided by the tipster. The Agents had personal
knowledge of REED from prior in-person interactions. On January 6, 2020, REED was
interviewed by Agents in connection with a threat assessment conducted on REED to determine
his intent and capability to conduct a terrorist act. The Assessment was closed by the FBI on
January 8, 2020, following the interview. The FBI assessed at the time REED had no intent or
capability to conduct a terrorist act. The Agents interviewed REED in person and were familiar
with his appearance based on this interaction.

        In addition to the personal knowledge of REED, Agents compared known photographs of
REED obtained from law enforcement databases to the images on the video on YouTube URL:
https://youtu.be/cRCEMN-lq_o. Agents observed an individual on the video believed to be REED,
based on their personal knowledge and the photographic comparisons. Depicted below is a
screenshot from the video, which in its entirety shows REED passing through three sets of
barricades: first, REED walking past snow fencing and “AREA CLOSED” signs guarded by
Capitol Police at the perimeter of the restricted area; second, his purposeful walking at the front of
the mob up to a second line of barricades made up of metal bike racks with “Capitol Police” signs,
which he physically removed himself so that he and other rioters could walk past the second metal
bike rack barriers; and finally third, his engaging verbally with officers at the black metal barriers
depicted below, which he also would have to pass to enter the Capitol Building. The below
screenshot is taken at 4 minutes and 11 seconds, showing a bearded individual, identified as REED,
looking at the camera, wearing a dark colored hooded sweatshirt on the grounds of the U.S.
Capitol. REED is circled in red in the image.


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       A screenshot from the video at 1 minute and 50 seconds, showed the back side of REED
as he walked past the first layer of downed fencing (marked with AREA CLOSED SIGNS),
moving past a barricaded area secured by U.S. Capitol Police towards the U.S. Capitol building.
On the rear of the sweatshirt worn by REED there is a red, white and blue depiction of Donald
Trump with his arms crossed. REED is circled in red in the image.




       Another open-source video shows REED walking quickly past the initial snow fencing
and leading the rioters through the restricted area—walking purposefully up to the next set of
barricades, comprised of metal bike racks with “Capitol Police” signs on them.




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        Immediately upon leading the pack of rioters to the second barricades made up of metal
bike racks, the YouTube video at URL: https://youtu.be/cRCEMN-lq_o captured REED physically
tearing down the metal barricades in front of the U.S. Capitol building, then continuing to walk
towards the U.S. Capitol building and the officers lined up there. REED is identified in the two
screenshots below taken at 2 minutes 45 seconds. Both screenshots below show REED physically
moving the barricade in front of the U.S. Capitol Police line, impeding and interfering with law
enforcement efforts to maintain a police line and keep rioters from crossing the physical barricades
and police lines. In the still shots below, an object can also be seen protruding from the bottom
lefthand side of REED’s sweatshirt front pocket. The object is black in color and appears to
resemble a baton. REED is circled in red.




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        REED continues to make his way closer to the entrance of the U.S. Capitol building and
can be seen in the video at 4 minutes 10 seconds where he has approached another fence at the
steps of the U.S. Capitol building, while police stand behind the fence. A screenshot taken at this
point in the video shows REED at the fence in front of the police line. REED is circled in red.




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        REED can also be heard in the video at approximately 4 minutes 35 seconds yelling at the
officers attempting to secure and hold the police line at the foot of the stairs leading to the Capitol
building. REED is pointing and gesturing with his hand, and yelling at the police officers, “You
work for us.” During this confrontation, REED’s right hand is visible while he is gesturing and
pointing. REED’s hand contains tattoos on four fingers depicting “III%,” as reflected in the below
still photograph taken at approximately 4 minutes and 46 seconds in the video. This tattoo is
associated with REED on one of his social media accounts (see below at pages 12-13).




        At approximately 5 minutes 3 seconds, rioters break past the second metal fence and the
police line at the base of the stairs leading toward the U.S. Capitol building. REED is recorded on
the video amongst the crowd of rioters breaking past the police line and advancing toward the U.S.
Capitol building. REED and the rioters are now well within the restricted grounds of the U.S.

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Capitol and are knowingly moving past police lines. At approximately 7 minutes 45 seconds in the
video an alarm can be heard blaring with a recorded message stating in sum and substance, “The
area is now a restricted access area. All people must leave this area. Failure to follow this order
may subject you to arrest or riot control agent or impact weapon.” A screenshot of REED walking
past the second barricade at 5 minutes 6 seconds is depicted below. REED is circled in red.




        Agents also reviewed other videos recorded on January 6, 2021, outside of the U.S. Capitol
building.     A    video   was      located    on    YouTube      at   the    following     URL:
https://www.youtube.com/watch?v=n0MA5GjR6Zo titled “Video Investigation: Proud Boys
Were Key Instigators in Capitol Riot | WSJ.” REED was observed on the video as one of the
individuals at the U.S. Capitol building with the Proud Boys group. A screenshot obtained from
the video taken at approximately 35 seconds depicted the front of REED’s sweatshirt for
identification purposes. The sweatshirt has white wording on the front stating “The Trumps
America’s First Family.” A black object, which appears to resemble a baton, can be seen
protruding from REED’s front sweatshirt pocket. REED is seen and recorded wearing this same
sweatshirt throughout the restricted grounds of the U.S. Capitol and inside of the U.S. Capitol
building. REED is circled in red.




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        Based on the photos of REED outside the U.S. Capitol building, a review of video from
inside the U.S. Capitol Building was conducted by FBI. The following screenshot was taken from
U.S. Capitol Police surveillance video filmed inside the U.S. Capitol Building. The screenshot
taken     from     the    following     file:   0102USCS01SenateWingDoornearS139_2021-01-
06_14h20min18s087ms.mp4, shows REED entering the U.S. Capitol Building at approximately
2:25 pm EST. REED is circled in red.




        FBI agents also observed REED in an open-source video inside the U.S. Capitol building
with a cellular telephone to his ear moments after a woman was shot inside the Capitol. The open
source         video        was        posted        by     “JAYDENX”             at       URL:
https://www.youtube.com/watch?v=hv7_HfQd4jU. At 9 minutes 23 seconds in the video, REED

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is observed with a phone to his ear directly in front of the camera. Agents observed REED is
talking on the cellular telephone from 9 minutes 23 seconds through 9 minutes 37 seconds in the
JAYDENX video. The following screenshot is taken from the video depicting REED with a
cellular telephone inside the U.S. Capitol building. REED circled in red.




         Based on review of the videos from inside the U.S. Capitol building, REED entered the
U.S. Capitol building and it appears that REED used his telephone while inside the Capitol, as
illustrated by the following screenshot taken of CCTV security video from inside the Capitol. The
below screenshot shows a bearded REED wearing the same dark colored sweatshirt standing next
to a male subject wearing red clothing on his upper body. REED is circled in red.




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        REED is also observed exiting the U.S. Capitol building. A screenshot taken from a U.S.
Capitol building surveillance camera shows REED walking out of the U.S. Capitol building at
approximately 2:49 p.m. EST, 24 minutes after he entered the U.S. Capitol building. REED is circled
in red.




       Open-source, publicly available photographs posted on social media obtained by agents
showed several images where REED was holding a collapsible, tactical style baton. The baton
photographed and depicted in the images below is believed to be the same baton REED appears to
be concealing inside of his front sweatshirt pocket in the images previously described herein.
Washington, D.C., has laws restricting the possession and use of expandable batons. Additionally,
batons are considered dangerous weapons, prohibited on the grounds or inside of the U.S. Capitol.

        The screenshots below show instances of REED on the grounds of the U.S. Capitol
building in Washington, D.C., openly carrying and in possession of a collapsible, tactical style
baton. The first image obtained from an Instagram account documenting the events on January 6,
2021, and publicly shared at URL: https://www.instagram.com/p/CJ5bzXtlVkn/. The screenshot
shows REED on top of a police vehicle holding an extended tactical style baton. The second
screenshot was obtained from a publicly viewable Facebook social media account at URL:
https://www.facebook.com/photo.php?fbid=10223654446446342&set=pb.1147153209.-
2207520000..&type=3 shows REED holding a collapsed tactical style baton. REED is circled in
red in the first image and is shown alone in the second image.




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       As described above, there is evidence that REED had in his possession a cellular telephone
while inside of the U.S. Capitol on January 6, 2021. On February 10, 2021, a search warrant was
obtained and subsequently served upon AT&T requesting subscriber and telephone toll records
associated with telephone number XXX-XXX-8100. The telephone number is subscribed to by
REED, based upon the warrant information received from AT&T. Agents have also reviewed other
records and evidence indicating that the device associated with REED’s telephone number XXX-
XXX-8100 was at the U.S. Capitol on January 6, 2021. Cell site evidence obtained through a Court
authorized search warrant shows REED’s cellular telephone utilizing cell sites in Washington,
D.C. on January 6, 2021.

        Records obtained from the Motto by Hilton Hotel, located at 627 H Street NW,
Washington, D.C., 20001, in response to a grand-jury subpoena, show that a room was rented by
REED’s girlfriend, who resided with him at 125 Roosevelt Drive, West Haverstraw, NY 10993.
Agents know based on an interview of REED’s girlfriend on July 22, 2019, that she and REED
were in a relationship and residing together. The interview of REED’s girlfriend was conducted in
relation to a Threat Assessment conducted by the FBI of REED. During the interview, Agents
confirmed that REED’s girlfriend and REED lived together. The hotel rental records reflect that
the room was rented from January 4, 2021, to January 7, 2021, by REED’s girlfriend and that there
were two occupants in the room.

Based on surveillance conducted of REED, and previous interviews of REED and his girlfriend
by law enforcement officers, Agents know that REED and his girlfriend were residing together at
the time of the Capitol riots. The following is a photograph of REED exiting the Home Depot on
January 26, 2021. Investigators believe that the person captured on the Home Depot surveillance
camera who has been identified as REED is the same person in the U.S. Capitol building and the
Capitol grounds as described above.



        On February 3, 2021, a surveillance team was able to capture the following photograph of
REED which reveals a tattoo across the fingers of his left hand. REED is also wearing a sweatshirt
that says “FUCK ANTIFA” with a depiction of an extended middle finger.




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        On February 17, 2021, a Federal Grand Jury subpoena was served on Zello, Inc. for
telephone number XXX-XXX-8100, which is the cellular telephone number subscribed to by
REED. Zello, Inc. provided positive holdings which show an account username of
“jeffironworkerreed” and a display name of “Kreeper.” In the about section of the profile page, it
states “Constitutionalist, III%er, militia man and an AMERICAN!!!” The account was opened on
September 27, 2014, with an email address of jeffreed417jiw@yahoo.com. The following picture
is the profile picture for REED’s Zello account, which appears to be an image of REED’s hand
with his tattoo, as previously identified on the video footage from January 6, 2021, described above
and from surveillance pictures.




        Based on the foregoing, your affiant submits that there is probable cause to believe that
JEFFREY DAVID REED violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. Your affiant further submits that there is probable cause to believe that JEFFREY DAVID
REED violated 18 U.S.C. § 1752(b)(1)(A), which enhances the punishment if the person, during
and in relation to the above offenses, uses or carries a deadly or dangerous weapon or firearm. For
purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or
otherwise restricted area of a building or grounds where the President or other person protected by
the Secret Service, including the Vice President, is or will be temporarily visiting; or any building
or grounds so restricted in conjunction with an event designated as a special event of national
significance.

        Your affiant submits there is also probable cause to believe that JEFFREY DAVID REED
violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly,
(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at

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any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.

        Finally, your affiant submits there is probable cause to believe that JEFFREY DAVID
REED violated 18 U.S.C. 231(a)(3), which makes it unlawful to commit or attempt to commit any
act to obstruct, impede, or interfere with any fireman or law enforcement officer lawfully engaged
in the lawful performance of his official duties incident to and during the commission of a civil
disorder which in any way or degree obstructs, delays, or adversely affects commerce or the
movement of any article or commodity in commerce or the conduct or performance of any
federally protected function. For purposes of Section 231 of Title 18, a federally protected function
means any function, operation, or action carried out, under the laws of the United States, by any
department, agency, or instrumentality of the United States or by an officer or employee thereof.


                                                      _________________________________
                                                      Susana Haberman
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 28th day of June 2023.                                   Digitally signed by G.
                                                                         Michael Harvey
                                                                         Date: 2023.06.28 10:55:14
                                                                         -04'00'
                                                      ___________________________________
                                                      G. MICHAEL HARVEY
                                                      U.S. MAGISTRATE JUDGE




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